Case 1:17-cv-00419-RGA Document 173 Filed 11/23/22 Page 1 of 2 PageID #: 1695




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 UNITED STATES et al. ex rel.
 Ronald Sherman,
                                                           C.A. No. 17-cv-00419-RGA
                             Plaintiffs-Relators,

                     v.

 CHRISTIANA CARE HEALTH SERVICES,
 INC., et al.,

                             Defendants.


                                       NOTICE OF SERVICE

       Pursuant to Local Civil Rule 5.4(b), the undersigned counsel hereby certifies that on

November 23, 2022, he caused true and correct copies of:

          i.      Expert Report of Timothy Blanchard;

         ii.      Expert Report of Lyn Chew;

        iii.      Expert Report of Scott Duncan;

        iv.       Expert Report of Cher Fieri; and

         v.       Expert Report of Kevin O’Brien

to be served upon counsel of record via electronic mail, with the consent of counsel to be served

in this manner.
Case 1:17-cv-00419-RGA Document 173 Filed 11/23/22 Page 2 of 2 PageID #: 1696




Dated: November 23, 2022                   DLA PIPER LLP (US)

OF COUNSEL:                                /s/ Matthew P. Denn
                                           Matthew P. Denn (Bar No. 2985)
Courtney Saleski                           1201 North Market Street, Suite 2100
Jean Gabat                                 Wilmington, DE 19801
DLA PIPER LLP (US)                         302.468.5700
1650 Market Street, Suite 5000             matthew.denn@dlapiper.com
Philadelphia, PA 19103
215.656.3300
courtney.saleski@dlapiper.com
jean.gabat@dlapiper.com

Michelle Morgan
DLA PIPER LLP (US)
1201 North Market Street, Suite 2100
Wilmington, DE 19801
302.468.5680
michelle.morgan@dlapiper.com               Attorneys for Defendants




                                       2
